           Case 5:22-cv-07069-EJD Document 26 Filed 02/08/23 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

                                     RELATED CASE ORDER


        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a Sua
Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been filed.
As the judge assigned to case

         5:22-cv-07069 EJD
         Libman v. Apple, Inc.

I find that the more recently filed case(s) that I have indicated below are related to the case assigned
to me, and such case(s) shall be reassigned to me. Any cases listed below that are not related to the
case assigned to me are referred to the judge assigned to the next-earliest filed case for a related
case determination.


          Case                     Title                 Related Not Related
          5:23-cv-00397 NC         Cima v. Apple Inc.      
          5:23-cv-00426 NC         Dluzak v. Apple Inc.    
          5:23-cv-00505 VKD        Abad v. Apple Inc.      
          3:23-cv-00487 TSH        Serrano v. Apple Inc.   
          4:23-cv-00524 DMR        Farley v. Apple Inc.    



                                                ORDER

        The parties are instructed that all future filings in any reassigned case are to bear the initials
of the newly assigned judge immediately after the case number. Any case management conference
in any reassigned case will be rescheduled by the Court. The parties shall adjust the dates for the
conference, disclosures and report required by FED. R. CIV. P. 16 and 26 accordingly. Unless
otherwise ordered, any dates for hearing noticed motions are vacated and must be re- noticed by the
moving party before the newly assigned judge; any deadlines set by the ADR Local Rules remain
in effect; and any deadlines established in a case management order continue to govern, except
dates for appearance in court, which will be rescheduled by the newly assigned judge.


Dated: February 8, 2023                                 By:
                                                                Hon. Edward J. Davila
                                                                United States District Judge




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